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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
United States of America                                                        Plaintiff

v.                                  Case No.: 4:19−cr−00037−BSM

Terri Blevins                                                                 Defendant




                                NOTICE OF HEARING


      PLEASE take notice that a Arraignment has been set in this case for October 18,
2019, at 02:00 PM before Magistrate Judge J. Thomas Ray in Little Rock Courtroom # 1C
in the Richard Sheppard Arnold United States Courthouse located at 600 West Capitol
Avenue, Little Rock, Arkansas.



DATE: October 10, 2019                           AT THE DIRECTION OF THE COURT
                                                    JAMES W. McCORMACK, CLERK


                                                      By: Tenesha J. Brown, Deputy Clerk




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